       Case 2:12-cr-00138-SSV-JVM           Document 321         Filed 04/13/15     Page 1 of 14




                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS                                                                                  NO. 12-138

SONNY ALLEN                                                                        SECTION “K”(1)

                                       ORDER AND REASONS


           Before the Court is Defendant Sonny Allen’s Motion for Judgment of Acquittal (R. Doc.

232) and Motion for New Trial (R. Doc. 233). Having reviewed the motions, memoranda,

record, and relevant law, the Court DENIES the motion for reasons stated herein.

I.         BACKGROUND

           On June 6, 2013, Defendant Sonny Allen was charged in a sixteen-count Superseding

indictment with the following offenses:

      i.   Conspiracy to Possess and to Possess with the Intent to Distribute 280 grams or more of

           cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(A), and 846 (Count 1);

     ii.   Conspiracy to possess firearms in furtherance of a drug trafficking offense in violation of

           21 U.S.C. § 924(o) (Count 2);

 iii.      Knowingly and intentionally distributing a quantity of cocaine base (“crack”) on

           February 22, 2013, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count 11);

 iv.       Knowingly and intentionally distributing a quantity of cocaine base (“crack”) on

           February 27, 2013, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count 12);

     v.    Knowingly and intentionally distributing a quantity of cocaine base (“crack”) on March

           6, 2013, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count 15); and




                                                                                                     1
      Case 2:12-cr-00138-SSV-JVM                 Document 321            Filed 04/13/15          Page 2 of 14




    vi.   Knowingly and intentionally distributing a quantity of cocaine base (“crack”) on June 4,

          2013, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count 16).

Superseding Indictment, R. Doc. 35, 1-7.

          On November 3, 2014, the matter proceeded to trial. The Government called seventeen

witnesses over the course of three days, and at the close of the Government’s case, the Defendant

made an oral motion for judgment of acquittal under Federal Rules of Criminal Procedure Rule

29 urging that the Government’s case was insufficient to carry its burden of proof beyond a

reasonable doubt. The Court reserved ruling on the motion, but allowed Defendant to renew his

motion at the conclusion of trial. At the conclusion of trial, the Defendant again urged the

motion with oral reasons and the Court reserved its decision and directed counsel submit written

reasons for the motion. The Defendant submitted a written motion for acquittal under Rule 29 in

addition to a motion for new trial under Federal Rule of Criminal Procedure Rule 33.

          The jury returned a verdict on November 6, 2014 of guilty against the Defendant on

Counts 1, 11, 12, 13, and 14.1 The jury acquitted the Defendant on Count 2, which charged him

with being a participant in a conspiracy to possess firearms in furtherance of drug trafficking

crimes, in violation of 18 U.S.C. § 924(o).



II.       LEGAL STANDARDS

          A.      Motion for Acquittal


          A motion for judgment of acquittal challenges “the sufficiency of the evidence to

convict.” United States v. Hope, 487 F.3d 224, 227 (5th Cir. 2007)(quoting United States v.


1
 Counts 13 and 14 of the verdict form referred to a Redacted Superseding Indictment that omitted two charges
pertaining to co-defendants not at trial. Counts 13 and 14 are the substantive equivalent of Counts 15 and 16 in the
original Superseding Indictment.

                                                                                                                       2
   Case 2:12-cr-00138-SSV-JVM             Document 321        Filed 04/13/15      Page 3 of 14




Lucio, 428 F.3d 519, 522 (5th Cir.2005)). Rule 29(a) of the Federal Rules of Criminal Procedure

provides that after the government closes its evidence or after the close of all evidence, on a

defendant’s motion, the court “must enter a judgment of acquittal of any offense for which the

evidence is insufficient to sustain a conviction.” As the Supreme Court stated in Jackson v.

Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979), “[t]he relevant question is

whether, after viewing the evidence in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt.”

See also United States v. Hope, 487 F.3d at 227–28. The court determines “only whether the

jury made a rational decision, not whether its verdict was correct on the issue of guilt or

innocence.” United States v. Dean, 59 F.3d 1479, 1484 (5th Cir. 1995)(citation omitted). “[I]f the

fact finder was presented with sufficient evidence to support the verdict reached, that verdict

must be upheld.” Lucio, 428 F.3d at 522.

       In viewing the evidence in the light most favorable to the prosecution, the court must

“consider the countervailing evidence as well as the evidence that supports the verdict in

assessing sufficiency of the evidence.” United States v. Moreland, 665 F.3d 137, 149 (5th Cir.

2011)(quoting United States v. Brown, 186 F.3d 661, 664 (5th Cir.1999)); see United States v.

Peterson, 244 F.3d 385, 389 (5th Cir.2001) (“All evidence is considered, not just that supporting

the verdict, but the evidence need not conclusively disprove alternatives; the jury is free to

choose among reasonable constructions of the evidence.”). The court must also draw upon

“reasonable inferences from the evidence to support the verdict.” United States v. Percel, 553

F.3d 903, 910 (5th Cir.2008) (quoting United States v. McDowell, 498 F.3d 308, 312 (5th

Cir.2007)) (emphasis added). Though the court may not “weigh[] the evidence or assess[] the

credibility of witnesses,” United States v. Lopez, 74 F.3d 575, 577 (5th Cir. 1996)(citations



                                                                                                   3
   Case 2:12-cr-00138-SSV-JVM              Document 321        Filed 04/13/15       Page 4 of 14




omitted), “[a] verdict may not rest on mere suspicion, speculation, or conjecture, or on an overly

attenuated piling of inference on inference.” United States v. Moreland, 665 F.3d 137, 149 (5th

Cir.2011) (quoting United States v. Rojas Alvarez, 451 F.3d 320, 333-34 (5th Cir. 2006)).

       Nevertheless, “[t]he evidence need not exclude every reasonable hypothesis of innocence

or be wholly inconsistent with every conclusion except that of guilt, and the jury is free to choose

among reasonable constructions of the evidence.” United States v. Mendoza, 522 F.3d 482, 488

(5th Cir. 2008) (quoting United States v. Ortega Reyna, 148 F.3d 540, 543 (5th Cir.1998)).

“Circumstances altogether inconclusive, if separately considered, may, by their number and joint

operation, especially when corroborated by moral coincidences, be sufficient to constitute

conclusive proof.” United States v. Vasquez, 677 F.3d 685, 692 (5th Cir.2012). “But the

evidence presented must allow the jury to find every element of the offense beyond a reasonable

doubt.” United States v. Uvalle–Patricio, 478 F.3d 699, 701 (5th Cir.2007) (internal quotation

and citation omitted).

       B.      Motion for New Trial

       Rule 33 states that, upon the Defendant’s motion, “the court may vacate any judgment

and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33; United States v.

Wall, 389 F.3d 457, 466 (5th Cir. 2004). “The burden of demonstrating that a new trial is

warranted ‘in the interest of justice’ rests on the defendant.” United States v. McElwee, 2010 WL

235007, *2 (W.D.La. Jan. 15, 2010) citing United States v. Soto–Silva, 129 F.3d 340, 343 (5th

Cir.1997). Rule 33 motions are not favored and are viewed with great caution. United States v.

Blackthorne, 34 F.3d 449, 452 (5th Cir.2004). “The grant of a new trial is necessarily an extreme

measure, because it is not the role of the judge to sit as a thirteenth member of the jury.” United




                                                                                                       4
   Case 2:12-cr-00138-SSV-JVM            Document 321        Filed 04/13/15      Page 5 of 14




States v. O'Keefe, 128 F.3d 885, 898 (5th Cir.1997); but see United States v. Robertson, 110 F.3d

1113, 11120 n. 11 (5th Cir.1997).

       “Motions for new trial are based either on the grounds that the verdict was against the

weight of the evidence or that some error was committed by the court or the prosecution which

substantially affects the rights of the accused.” United States v. Simms, 508 F. Supp. 1188, 1202

(W.D. La. 1980). In the Fifth Circuit, “the generally accepted standard is that a new trial

ordinarily should not be granted unless there would be a miscarriage of justice or the weight of

evidence preponderates against the verdict.” United States v. Wright, 634 F.3d 770,775 (5th Cir.

2011); see Wall, 389 F.3d at 466.

       Unlike the Rule 29 motion where the evidence must be viewed in a light most favorable

to the verdict, in determining whether to grant a Rule 33 motion, the Court “may weigh the

evidence and may assess the credibility of the witnesses during its consideration of the motion

for new trial.” United States v. Tarango, 396 F.3d 666, 672 (5th Cir. 2005)(citing Robertson, 110

F.3d at 1117). “[T]he decision to grant or deny a motion for new trial based on the weight of the

evidence is within the sound discretion of the trial court.” United States v. Robertson, 110 F.3d

1113, 1118 (5th Cir. 1997). Thus, the court has broad discretion to grant a new trial “in the

interest of justice.” United States v. Scroggins, 379 F.3d 233 (5th Cir.2004), vacated on other

grounds, 543 U.S. 1112, 125 S.Ct. 1062, 160 L.Ed.2d 1049 (2005); United States v. Antone, 603

F.2d 566 (5th Cir. 1979). Deference is given to the district court because it actually observed the

demeanor of witnesses and their impact on the jury. Wall, 389 F.3d at 465; O'Keefe, 128 F.3d at

893. “[E]vidence which merely discredits or impeaches a witnesses’ testimony does not justify a

new trial.” United States v. Blackthorne, 378 F.3d 449, 455 (5th Cir. 2004)(citation omitted). A

new trial may be appropriate where the evidence only tangentially supports a guilty verdict and



                                                                                                    5
       Case 2:12-cr-00138-SSV-JVM         Document 321         Filed 04/13/15      Page 6 of 14




the evidence “preponderates sufficiently heavily against the verdict such that a miscarriage of

justice may have occurred.” Tarango, 396 F.3d at 672 (citations omitted). However, the court

must not usurp the jury’s function “or simply set aside a jury's verdict because it runs counter to

result the district court believed was more appropriate.” Id. at 672 (citations omitted).


III.      DISCUSSION

          In his Motion for Judgment of Acquittal, Defendant does not challenge his convictions

for the four distribution charges but alleges that the evidence was insufficient as to the

conspiracy charge in Count 1 to sustain his conviction and must be acquitted as to Count 1.

Presenting substantially the same argument set forth in his motion for acquittal, the Defendant

argues in his Motion for New Trial that, due to the insufficiency of the evidence, the weight of

the evidence preponderates so heavily against the verdict that a miscarriage of justice occurred

and that the Court should grant a new trial on this basis.

          A.     Elements of Narcotics Conspiracy

          To prove conspiracy under 21 U.S.C. § 846, the government must prove beyond a

reasonable doubt that: “(1) an agreement existed between two or more persons to violate federal

narcotics law, (2) the defendant knew of the existence of the agreement, and (3) the defendant

voluntarily participated in the conspiracy.” United States v. Ochoa, 667 F.3d 643, 648 (5th Cir.

2012).

          The Government need not show that a defendant entered into an express agreement to

show that the defendant engaged in a conspiracy: “[A] tacit, mutual agreement with common

purpose, design, and understanding will suffice.” United States v. Daniels, 723 F.3d 562, 575

(5th Cir. 2013) modified in part on rehearing, 729 F.3d 496 (5th Cir.2013) (citing United States

v. Zamora, 661 F.3d 200, 209 (5th Cir.2011)(internal quotation marks omitted)). “Concert of

                                                                                                      6
    Case 2:12-cr-00138-SSV-JVM                  Document 321            Filed 04/13/15         Page 7 of 14




action can indicate agreement and voluntary participation”; “[t]he surrounding circumstances

may establish knowledge of a conspiracy”; and, more importantly, “[a] conspiracy agreement

may be tacit, and the trier of fact may infer an agreement from circumstantial evidence.” United

States v. Quiroz-Hernandez, 48 F.3d 858, 866 (5th Cir. 1995), as modified on reh'g (May 8,

1995)(quoting United States v. Thomas, 12 F.3d 1350, 1356–57 (5th Cir. 1994)).2 Indeed, “[t]he

agreement, a defendant's guilty knowledge and a defendant's participation in the conspiracy all

may be inferred from the ‘development and collocation of circumstances.’ ” United States v.

Posada-Rios, 158 F.3d 832, 857 (5th Cir. 1998)(quoting United States v. Maltos, 985 F.2d 743,

746 (5th Cir.1992)).; see also United States v. Ayala, 887 F.2d 62, 67-68 (5th Cir. 1989).

“Although to be guilty a defendant must voluntarily participate in the conspiracy, he need only

play a minor role in the overall scheme.” Ayala, 887 F.2d at 67-68 (citingUnited States v.

Gonzales, 866 F.2d 781, 788 (5th Cir.1989)). “[A] defendant need not know all of the specific

details of the conspiracy, need not know all of the other conspirators, and need not have ever

physically touched any of the drugs involved in the conspiracy.” Daniels, 723 F.3d at 575

(citation omitted). Moreover, “[o]nly slight evidence is needed to connect an individual to an

illegal conspiracy once the [government] has produced evidence of that conspiracy.” United

States v. Thomas, 12 F.3d 1350, 1359 (5th Cir. 1994)(citation and internal quotation marks

omitted).

        The Government also need not prove an overt act to show participation in a conspiracy.

United States v. Bermea, 30 F.3d 1539, 1552 (5th Cir.1994); see United States v. Turner, 319

F.3d 716, 721 (5th Cir. 2003). Though not sufficient alone to prove participation in a conspiracy,


2
  See also United States v. Bermea, 30 F.3d 1539, 1552 (5th Cir. 1994) (“Among the factors that may be considered
by the factfinder in determining whether a defendant is guilty of committing a drug conspiracy crime are concert of
action, presence among or association with drug conspirators, and evasive and erratic behavior.” (citation and
internal quotation marks omitted)).

                                                                                                                  7
   Case 2:12-cr-00138-SSV-JVM              Document 321         Filed 04/13/15       Page 8 of 14




presence and association may be considered by the jury along with other circumstantial evidence

in finding that the defendant participated in a conspiracy. See United States v. Chavez, 947 F.2d

742, 745 (5th Cir.1991). However, “[a] defendant may not . . . be convicted of a drug conspiracy

merely by evidence that he associated with other drug conspirators or by evidence that places the

defendant in ‘a climate of activity that reeks of something foul.’” Posada-Rios, 158 F.3d at 857-

58 (citation omitted).

       When weighing the testimony, “[a]s long as it is not factually insubstantial or incredible,

the uncorroborated testimony of a co-conspirator, even one who has chosen to cooperate with the

government in exchange for non-prosecution of leniency, may be constitutionally sufficient

evidence to convict.” Turner, 319 F.3d at 721 (5th Cir. 2003)(quoting United States v.

Westbrook, 119 F.3d 1176, 1190 (5th Cir.1997))(internal quotation marks omitted); see Bermea,

30 F.3d 1539, 1552 (5th Cir. 1994)(“We have held that a guilty verdict may be sustained if

supported only by the uncorroborated testimony of a coconspirator, even if the witness is

interested due to a plea bargain or promise of leniency, unless the testimony is incredible or

insubstantial on its face.”). “Testimony is incredible as a matter of law only if it relates to facts

that the witness could not possibly have observed or to events which could not have occurred

under the laws of nature.” United States v. Bermea, 30 F.3d 1539, 1552 (5th Cir. 1994)(citations

omitted)

       B.      Evidence Presented at Trial

       At trial, the Government presented evidence from various witnesses and co-conspirators

in support of the charges brought against the Defendant. Officer Brian Pollard testified that he

witnessed individuals conducting hand-to-hand narcotics transactions in the 1200 block of Simon

Bolivar Avenue where Sonny Allen’s grandmother lived over a period of years. These



                                                                                                        8
   Case 2:12-cr-00138-SSV-JVM            Document 321       Filed 04/13/15      Page 9 of 14




individuals were Gie Preston, Lionel Allen, Burnell Allen, Mark Rayfield, and Emanuel Casame,

all of whom were indicted in the Superseding Indictment along with Sonny Allen. (R. Doc. 35,

1-2). Officer Pollard did not testify as to Eugene Allen or Sonny Allen who were also indicted

under the conspiracy charge in Count 1 of the Superseding Indictment. However, Agent Hank

Meyer of the Bureau of Alcohol, Tobacco, Firearms, and Explosives testified that he observed

confidential informant Appolonia Connor conduct controlled purchases of crack cocaine that he

arranged from Sonny Allen. The Defendant and the Government stipulated to amounts of 3.4

grams, 3.4 grams, 3.9 grams, 1.9 grams, and 8.4 grams sold in connection with the controlled

purchases conducted by Agent Meyer. (Stipulations for Trial, R. Doc. 213). At the time of those

purchases, Agent Meyer testified that he did not see Gie Preston or Burnell Allen at the

residence. Agent Meyer described Sonny Allen’s grandmother’s house as “ground zero” for

distribution of narcotics. Appolonia Connor testified that she purchased crack cocaine through

controlled purchases but was not “in business” with the co-conspirators.

       Nukema Frith testified that she has known Sonny and Burnell since she was 12 years old

and had observed Burnell Allen, Sonny Allen, and Gie Preston selling cocaine near the Allens’

grandmother’s house for years. She also testified that she purchased crack from all three while

they were in the same vicinity and that she never saw them compete for customers. Brandy

Dwyer testified that she observed Gie Preston, Burnell Allen, and Sonny Allen sell crack on

various occasions between 2011 and 2012 “all day, every day” around the same location. Keoka

Wright, who went to school with Sonny Allen, testified that she saw Sonny Allen, Gie Preston,

and Burnell Allen “briefly meet and talk to crackheads” daily during 2008.

       Eugene Allen testified that he sold crack around the grandmother’s house along with

Sonny Allen and that they “each took turns” selling crack to customers. Mark Rayfield testified



                                                                                                  9
  Case 2:12-cr-00138-SSV-JVM             Document 321         Filed 04/13/15      Page 10 of 14




that Burnell Allen, Gie Preston, and Sonny Allen would sell narcotics near each other around the

Allens’ grandmother’s house. Rayfield stated that Burnell Allen would give him crack to sell on

consignment. Rayfield also testified that the Allens left their stashes in the backyard of the

grandmother’s house while Gie Preston left his stash in another location. Also, according to

Rayfield, the three alleged co-conspirators stole cash and drugs from each other frequently.

Emanuel Casame testified that Sonny Allen, Burnell Allen, and Gie Preston sold narcotics

around the Allens’ grandmother’s house and would buy cocaine from Sonny Allen for resale; he

also stated that Burnell Allen would sell cocaine to Sonny Allen and Gie Preston. He testified

that, on at least two occasions, Gie Preston, Burnell Allen, and Sonny Allen pooled their money

together to buy cocaine from Isaac Thompson, a narcotics distributer. Finally, Casame testified

that Sonny Allen and Burnell Allen possessed firearms occasionally and was the only witness

who provided any testimony as to Sonny Allen’s possession of a firearm. Isaac Thompson

testified that between 2011 and 2012 he sold Sonny Allen between half and one ounce (18-56

grams) of cocaine every two weeks, which even through conversion to crack cocaine, yielded an

equal amount of crack cocaine in weight.

       C.      Analysis

       Defendant argues that the evidence the Government presented was insufficient evidence

of an agreement forming a conspiracy. He asserts that, instead, the evidence supports the

conclusion that the Defendant was an “independent contractor” who sold crack cocaine without

being a part of the conspiracy. In support, Defendant points to Mark Rayfield’s testimony that

Sonny Allen, Burnell Allen, and Gie Preston stole money and drugs from each other and did not

share in profits as evidence of the lack of agreement. He avers that he cannot be convicted

simply based on the fact that he sold drugs in proximity to other Co-Defendants. He also points



                                                                                                  10
  Case 2:12-cr-00138-SSV-JVM             Document 321         Filed 04/13/15      Page 11 of 14




to the lack of testimony as to an express agreement between the alleged co-conspirators from

various witnesses.

       Alternatively, the Defendant urges that he was merely in a buyer-seller relationship with

the members of the conspiracy but not a member of the conspiracy itself. The defendant

consistently relies on United States v. Goines, 988 F.2d 750, 764 (7th Cir. 1993), to support the

proposition that the evidence was insufficient to find the existence of an agreement to which

Sonny Allen voluntarily joined. In Goines, the alleged co-conspirator was found to be in a

“buyer-seller” relationship with the members of the conspiracy. Id. Evidence showed that the

defendant was delivered cocaine on one instance (and was said to be “in debt” to the supplier)

and attempted to purchase cocaine on another occasion various occasions from a conspirator;

other evidence showed that he sold cocaine only to a relative of an informant, unrelated to the

conspiracy. Id. Thus, the Goines court concluded that the defendant was not part of a

conspiracy. Id.

       In this case, the Defendant suggests that the Court should view Sonny Allen’s

relationship to the drug conspiracy as being a buyer-seller relationship where Sonny Allen would

purchase drugs from the conspirators while maintaining independence from the conspiracy. He

cites to Isaac Thompson’s testimony that Sonny would purchase cocaine from him independently

in support and the fact that Officer Pollard testified that none of the Allens were present at the

time of Gie Preston’s arrest. Although Emanuel Casame testified that Sonny Allen, Gie Preston,

and Burnell Allen pooled money together to purchase crack cocaine from Isaac Thomspon, the

Defendant argues that such testimony should be disregarded as incredible and unbelievable. He

argues that Casame’s cooperation with the Government and the fact that he alone testified that




                                                                                                     11
  Case 2:12-cr-00138-SSV-JVM             Document 321          Filed 04/13/15    Page 12 of 14




Sonny Allen possess firearms, which may have formed the basis of the Defendant’s acquittal on

the conspiracy charged in Count 2, discredits his testimony.

       In response, the Government argues that simply because an alternative inference—that

Sonny Allen was an “independent contractor”—may exist does not mean the verdict was not

supported by the evidence. The Government cites to the testimony of Keoka Wright, Nukema

Frith, Mark Rayfield, Eugene Allen, Emanuel Casame, and Isaac Thompson as support for the

existence of an agreement and of Sonny Allen’s participation in the agreement.

       Although the Defendant argues that he was an independent contractor or merely in a

buyer-seller relationship, both arguments are based on the assumption that sharing in profits

would indicates a true agreement and conspiracy exists in this case. However, the conspiracy

alleged in Count 1 of the Superseding Indictment was to join together to possess and sell crack

cocaine, sharing mutual support and protection in a certain area. Though the illicit activity here

involves pecuniary gain, an agreement for purposes of a conspiracy need not have profit-sharing

motive. What the co-conspirators did not share in profits they shared in the ability to sell crack

cocaine individually in the same area (the Allens’ grandmother’s house) without direct

competition. Moreover, there need not be a “formal agreement to violate narcotics laws” for a

conspiracy to exist. United States v. Mitchell, 484 F.3d 762, 769 (5th Cir. 2007)(emphasis

added). Indeed, “the structure among the defendant drug dealers defies a simple and

straightforward description” in many drug conspiracies, which, “by their very nature, . . . are

loosely-knit ensembles.” Goines, 988 F.2d at 759.

       Testimonial evidence sufficiently established that this tacit agreement existed and that

Sonny Allen both knew and voluntarily participated in that agreement. The evidence from

numerous witnesses, including co-conspirators, demonstrates that Sonny Allen sold crack



                                                                                                  12
  Case 2:12-cr-00138-SSV-JVM            Document 321        Filed 04/13/15      Page 13 of 14




alongside the other co-conspirators for a period of years—evidence which demonstrates

agreement rather than mere presence or association with the co-conspirators. Sonny Allen,

Burnell Allen, and Gie Preston stashed drugs in the same area (in or around the grandmother’s

house). Even if they stole from each other, testimonial evidence showed that they did not

compete for customers. The three co-conspirators sometimes bought drugs from each other and

frequently bought drugs from the same supplier: Burnell Allen sold drugs to Sonny Allen and

both Sonny and Burnell Allen purchased cocaine from Isaac Thompson. Without weighing his

testimony, Emanuel Casame testified that, on at least two occasions, the three co-conspirators

also pooled their money together to purchase cocaine from Thompson.

       Whether Sonny Allen knew or was present at the time of Gie Preston’s arrest or during

other surveillance by police officers, evidence of selling crack cocaine in the same area, buying

from the same distributor, and stashing their drugs in the same location all evidence agreement to

work in concert with each other. Unlike the defendant in Goines who merely purchased drugs on

a few occasions and sold to one person only, Sonny Allen actively participated on numerous

occasions to purchase, store, and sell cocaine with Burnell Allen, Gie Preston, and the other co-

conspirators. See Mitchell, 484 F.3d at 769 (5th Cir. 2007)(finding no buyer-seller arrangement

existed where on numerous occasions conspirators travelled together and made jointly agreed-

upon arrangements to purchase and transport drugs from the same source in order to

subsequently sell them). From evidence of these concerted actions, a rational jury could infer that

Sonny Allen and the other alleged co-conspirators did form and voluntarily participate in a tacit

agreement. Therefore, the Court concludes that there was sufficient evidence from which a jury

could have found beyond a reasonable doubt that Sonny Allen conspired to possess with intent to

distribute crack cocaine as charged in Count 1.



                                                                                                 13
  Case 2:12-cr-00138-SSV-JVM             Document 321         Filed 04/13/15      Page 14 of 14




       In the Defendant’s Rule 33 motion, the Defendant primarily attacks the credibility of co-

conspirator, Emanuel Casame. The Defendant infers that the jury must have determined

Casame’s testimony was unreliable because only Casame testified that Sonny Allen ever

possessed firearms yet the jury acquitted Sonny Allen of the conspiracy to possess firearms

charge in Count 2. Notwithstanding the fact that there are other elements than simple possession

charged in that particular crime, the Court is not required to (nor believes it should) make

Defendant’s leap of logic into the jury’s deliberative process. Fifth Circuit case law is clear that

a co-conspirator’s testimony alone may be sufficient to convict, despite any expected benefit

from the Government for testifying. The Court finds his testimony credible, as he testified to

facts he could have witnessed; testimony from Isaac Thompson and Mark Rayfield corroborate

certain facts from his testimony and further lend it credibility. Thus, in addition to the reasons

stated above, the Court finds that the evidence was not so insufficient as to create a miscarriage

of justice and preponderate against the verdict. Finding no exceptional circumstances warranting

a new trial in this matter and exercising its discretion, the Court finds that the Defendant has not

presented sufficient grounds for a granting of a new trial.

       Accordingly,

       IT IS ORDERED that the Defendant Sonny Allen’s Motion for Judgment of Acquittal

(R. Doc. 232) and Motion for New Trial (R. Doc. 233) are DENIED.

                                    13th day of ______________________,
       New Orleans, Louisiana, this _____              April            2015.




                                               _____________________________________
                                               STANWOOD R. DUVAL, JR.
                                               UNITED STATES DISTRICT JUDGE



                                                                                                     14
